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4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                 )   Case No.: 2:15-CR-131 TLN
10                                             )
                          Plaintiff,           )   STIPULATION AND ORDER CONTINUING THE
11                                             )   STATUS CONFERENCE TO A JUDGMENT AND
     vs.                                       )   SENTENCING
12                                             )
     SHANNON ARMSTRONG,                        )   Date: April 19, 2018
13                                             )   Time: 9:30 a.m.
                          Defendant.           )   Judge: Honorable Troy L. Nunley
14                                             )

15

16         The parties hereby stipulate the following:

17         1.   Sentencing in this matter is presently set for September 14, 2017.

18   Counsel for the parties request the Judgment and Sentencing be continued to

19   April 19, 2018 at 9:30 a.m.       Assistant United States Attorney Samuel Wong and

20   United States Probation Officer Anthony Andrews have been advised of this

21   request and have no objection.

22         2.   Co-defendants Leobardo Martinez-Carranza, Bradley Ward, William

23   Welch, and Michael McGibbon are set for Jury Trial on January 29, 2018.

24         3.   Mr. Armstrong's participation in the upcoming trial is likely.

25   Therefore, the Parties believe postponing Mr. Armstrong's sentencing is

26   appropriate.

27         4. The parties request the Court adopt the following schedule

28   pertaining to the presentence report:
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1              Judgment and Sentencing date:                     4/19/18

2              Reply, or Statement of Non-Opposition:            4/5/18
3
               Motion for Correction of the Presentence
4
               Report Shall be filed with the Court and
               served on the Probation Officer and
5              opposing counsel no later than:                   3/22/18

6              The Presentence Report shall be filed
               with the Court And disclosed to counsel
7              no later than:                                    3/8/18
8              Counsel’s written objections to the
               Presentence Report Shall be delivered
9
               to the probation officer and opposing
10             Counsel no later than:                            2/22/18

11             The Presentence Report shall be filed
               with the Court And disclosed to counsel
12             no later than:                                    n/a

13
          IT IS SO STIPULATED.
14

15   Dated:   August 8, 2017                   /s/ John R. Manning
                                               JOHN R. MANNING
16                                             Attorney for Defendant
                                               Shannon Armstrong
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18   Dated:   August 8, 2017                   Phillip A. Talbert
                                               United States Attorney
19                                             by: /s/ Samuel Wong
                                               SAMUEL WONG
20                                             Assistant United States Attorney
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            Case 2:15-cr-00131-TLN Document 260 Filed 08/10/17 Page 3 of 3


1                                        ORDER

2          The Court having received, read, and considered the parties’

3    stipulation, and good cause appearing therefrom, the Court hereby adopts the

4    parties’ stipulation in its entirety as its order.

5          IT IS SO FOUND AND ORDERED this 10th day of August, 2017.

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                                                 Troy L. Nunley
10                                               United States District Judge
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